       Case 4:05-cr-00648-MJJ       Document 19      Filed 11/22/05    Page 1 of 1




 1   BARRY J. PORTMAN
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 4
     Counsel for Defendant FRAZIER
 5

 6

 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,           )
                                         )         No. CR 05-00648-MJJ (WDB)
11                            Plaintiff, )
                                         )
12           v.                          )
                                         )         ORDER MODIFYING RELEASE CONDITIONS
13   MAURICE FRAZIER                     )
                                         )
14                           Defendant. )
                                         )
15                                       )

16
                                               ORDER
17
          Good cause appearing therefore,
18
          IT IS HEREBY ORDERED that the release conditions in this case be modified to permit Mr.
19
     Frazier to spend the Holiday of November 24, 2005, between the hours of 8:00 a.m. and 6:00
20
     p.m. at his mother Roslind Randle’ s home at 1926 Chestnut St., Oakland, CA 94607.
21

22
     DATED: November 22, 2005
23
                                                  HON. WAYNE D. BRAZIL
24                                            UNITED STATES MAGISTRATE JUDGE

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